               Exhibit NNN




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Rebuttal Report of Jacob M. Grumbach


                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                        Case No. 1:23-cv-00878-TDS-JEP

DEMOCRACY NORTH CAROLINA;
NORTH CAROLINA BLACK ALLIANCE;
LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA,

Plaintiffs,

vs.

ALAN HIRSCH, in his official capacity as
CHAIR OF THE STATE BOARD OF
ELECTIONS; JEFF CARMON III, in his
official capacity as SECRETARY OF THE
STATE BOARD OF ELECTIONS; STACY
EGGERS IV, in his official capacity as
MEMBER OF THE STATE BOARD OF
ELECTIONS; KEVIN LEWIS, in his official
capacity as MEMBER OF THE STATE
BOARD OF ELECTIONS; SIOBHAN
O’DUFFY MILLEN, in her official capacity
as MEMBER OF THE STATE BOARD OF
ELECTIONS; KAREN BRINSON BELL, in
her official capacity as EXECUTIVE
DIRECTOR OF THE STATE BOARD OF
ELECTIONS; NORTH CAROLINA STATE
BOARD OF ELECTIONS,

Defendants.


        EXPERT REBUTTAL REPORT OF DR. JACOB M. GRUMBACH

                                 March 26, 2025




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I.      Introduction

      I am currently an Associate Professor at the Goldman School of Public Policy at
the University of California, Berkeley. I was asked by Plaintiffs in this action to review
the Expert Report of Dr. Andrew Taylor.

II.     Americans Under 26 Constitute a Political Community

       1.     Dr. Taylor’s Expert Report (p. 6) argues that “the term ‘young voters’ does
not describe a delineated and conspicuous group of North Carolinians with a distinct
identity and particular vulnerability to strategic discrimination by the state.”

        2.      It is my expert opinion that young Americans, defined specifically as
Americans between the ages of 18 and 25, constitute a coherent political community.
This opinion is based on a variety of evidence. First, as I showed empirically in my
Expert Report submitted on March 5, 2025 (pp. 4–10), young Americans have distinct
political attitudes and priorities. These attitudes and priorities have formed through
shared experience, such as low rates of homeownership. Second, young Americans are
dramatically underrepresented in politics (id., pp. 10–12). Such underrepresentation does
not occur by chance, but rather because young Americans, as a group, have fewer
economic resources and lower social capital—and because of policy and institutions that
make it more difficult for young Americans to participate in politics.

       3.     Third, it would be curious if young Americans did not constitute a political
community, because political elites certainly behave as if they do. During his 2024
election campaign, President Trump argued that “[y]oung Americans could buy homes
again if I’m elected.” 1 Prominent conservative activist Charlie Kirk similarly proclaimed,
“Gen Z, I want you to know President Trump is going to deliver for you. So that you
could be able to own a home, have big families, believe in this country.” 2 Political elites,
in other words, consider young voters to be a political community with shared
experiences and distinct preferences.

        4.     It is also clear that political elites consider young voters to be a coherent
political community when they, at times, support policies that reduce young voters’
electoral participation. I described in my Expert Report (pp. 12–15), political elites in
recent years have argued against the participation of young people in politics. The
arguments suggest that young Americans are so uninformed or rootless that their political

1
  Ingraham Angle, Trump: Young Americans could buy homes again if I’m elected (July 30,
2024), https://www.foxnews.com/video/6359647975112.
2
  Elena Moore, Turning Point USA’s Charlie Kirk tells Gen Z voters ‘Trump is going to deliver
for you’ (Jan. 20, 2024), https://www.keranews.org/2025-01-20/turning-point-usas-charlie-kirk-
tells-gen-z-voters-trump-is-going-to-deliver-for-you.
                                                                                                 2



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participation is harmful for society. 3 These arguments are familiar; they have been
historically used to argue against the political rights and participation of women and
racial minorities, and they suggest that political elites consider the group in question to be
a coherent political community. Indeed, traditionally American notions of political
equality and representation, such as the principle of “no taxation without representation,”
as well as analogies between the exclusion of African Americans and young Americans
in voting, have been applied to young Americans in the debates surrounding the
ratification of the 26th Amendment (e.g., Cheng 2017).

        5.     Finally, in support of this argument, Dr. Taylor’s Expert Report (p. 6, fn. 9)
cites the book Generation Gap by Kevin Munger (a book I also cited in my Expert
Report). However, contrary to its use in Dr. Taylor’s Expert Report, Munger argues
specifically in the book (p. 11) that “younger generations indeed seem to have a sense of
shared identity and are willing to take political actions to advance a common agenda.”

III.   Same Day Registration Has Substantial Effects for Young Voters

        6.     Dr. Taylor’s Expert Report (p. 15) argues that the importance of same day
registration (“SDR”) “need[s] to be placed in perspective.” One way Dr. Taylor’s report
(p. 15) puts SDR effects in perspective is by referencing an estimate from a statistical
result in Grimmer and Hersh (2024) that suggests that “SDR increases turnout by 0.67
percentage points in Mississippi.”

        7.    For three critically important reasons, this estimate referenced in Dr.
Taylor’s report is not evidence against the importance of SDR for young voters. First and
most importantly, neither Grimmer and Hersh (2024) nor Dr. Taylor’s Expert Report
shows SDR effects by age group, but rather just an overall average effect for all
individuals. The solidly positive turnout effects of SDR for all individuals are already
well known in the political science literature (e.g., Burden et al 2014). A key point,
however, is that Grumbach and Hill (2022) showed that this effect is larger for young
voters—something that can only be known by disaggregating the SDR effect by age,
which neither Grimmer and Hersh (2024) nor Dr. Taylor’s Export Report do. This is a
critically important point. If SDR strongly increases young voters’ turnout but more
weakly affects older voters’ turnout, then failing to separate SDR effects by age will


3
  In addition to the examples in my original Expert Report, there are many others in recent years.
In 2021, the Secretary of State of Mississippi, in arguing against automatic voter registration,
said to “[t]hink about all these woke college and university students now who are automatically
registered to vote… You’ve got an uninformed citizen who may not be prepared and ready to
vote.” Jacob Gallant, Sec. of State says woke, uninformed college students could sway elections
under voter reform (Apr. 7, 2021), https://www.wlbt.com/2021/04/07/sec-state-says-woke-
uninformed-college-students-could-sway-elections-under-voter-reform/.
                                                                                                 3



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make the overall SDR effect look smaller because older voters are much more numerous
in the population.

        8.    Second, Mississippi is not North Carolina. North Carolina is different from
Mississippi in terms of demographics, partisanship, geography, and much more. These
differences matter for the effects of SDR, as, for instance, North Carolina has over three
times the number of college students as Mississippi. 4 North Carolina is also the only state
that limits SDR to the early voting period. 5

        9.     Third, footnote 40 of Dr. Taylor’s report (p. 15) states that “Grimmer and
Hersh apply the Grumbach and Hill method to Mississippi.” This statement is not
accurate. As already noted, Grimmer and Hersh do not estimate SDR’s turnout effects by
age, just overall. Moreover, the main results of Grumbach and Hill (2022) use nine
distinct forms of difference-in-differences specifications (reprinted in Figure 7 of my
original Expert Report, p. 19), which vary the use of state-level and individual-level
demographic control variables (e.g., information about voters’ incomes, educational
background, race, and gender), as well as in the particular type of model specification
(e.g., including state time trends or using weighted fixed effects modeling). The last point
is somewhat technical but still important, as there have been important econometric
advances in difference-in-differences analysis in recent years (e.g, Callaway and
Sant’Anna 2021). These advances are focused on difference-in-differences analyses in
situations when the policy change under study is implemented at different times in
different states, as is the case with SDR. Specifically, the older difference-in-differences
techniques can suffer from problems if newer and more longstanding SDR policies have
different effects on turnout; the newer difference-in-differences techniques are designed
to overcome this potential problem.

IV.    Public Concern Is Not Evidence of Voter Fraud

        10.    In Dr. Taylor’s Expert Report, a major point of opposition to the argument
that “S. 747 does nothing to increase election integrity and improve election
administration” (p. 22) is the fact that “Americans are clearly concerned about voter
fraud” (p. 23). However, the scholarly literature makes clear that public perceptions of
voter fraud, and of confidence in elections more broadly, are unrelated to actual rates of
voter fraud or electoral integrity. Instead, trends in public attitudes about these issues are
mostly driven by which party wins the presidential election, especially since 2020; when
a party loses a presidential election, the party’s voter base loses confidence in the
integrity of elections (e.g., Bowler and Donovan 2024). The lack of correspondence

4
  Melanie Hanson, College Enrollment & Student Demographic Statistics (last updated March
17, 2025), https://educationdata.org/college-enrollment-statistics.
5
  National Conference of State Legislatures, Same-Day Voter Registration (last updated Oct. 25,
2024), https://www.ncsl.org/elections-and-campaigns/same-day-voter-registration.
                                                                                                 4



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between perceived and actual rates of voter fraud is but one example of the gap between
perceived and actual crime rates shown in quantitative analyses (Gramlich 2016; Esberg
and Mummolo 2018).

       11.     More broadly, Dr. Taylor’s Expert Report does not contain evidence about
rates of voter fraud in North Carolina or the United States, and only quite loosely
speculates about how SB747 might affect rates of fraud.

                                      *      *      *

       Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the
foregoing Declaration is true and correct in substance and in fact to the best of my
knowledge and belief.

Executed on: March 26, 2025                             _____________________
                                                        Jacob M. Grumbach, Ph.D.




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